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                                                                                     FILED
                                                                                January 19, 2024
                           UNITED STATES DISTRICT COURT                       CLERK, U.S. DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS                         WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION                                         NM
                                                                           BY: ________________________________
                                                                                                   DEPUTY
 JAMES MARTZALL,                                   §
                                                   §
                        Plaintiff,                 §
                                                   §
 v.                                                §     CIVIL NO. SA: 5:24-CV-00042-OLG
                                                   §
 DEUTSCHE BANK NATIONAL                            §
 TRUST COMPANY, AS INDENTURE                       §
 TRUSTEE, ON BEHALF OF THE                         §
 HOLDERS OF THE ACCREDITED
 MORTGAGE LOAN TRUST 2006-2
 ASSET BACKED NOTES,
                        Defendant.
                                             ORDER
       On this date the Court considered the status of the above styled and numbered case. It has

come to the Court’s attention that a previously filed suit by Plaintiff against Defendant relates to

the same mortgage loan on 16543 Inwood Cove, San Antonio, Texas 78248. See Martzall v.

Deutsche Bank National Trust Company, No. 5:22-CV-00018-XR (W.D. Tex. January 10, 2022).

There, the case was dismissed with prejudice. Id. at Dkt. No. 39.

       The court may raise res judicata sua sponte in the interest of judicial economy where both

actions were brought before the same court and claims are nearly identical to claims previously

litigated before the same court. McIntryre v. Ben E. Keith Co., 754 F. App’x 262, 264 (5th Cir.

2018); Boone v. Kurtz, 617 F.2d 435, 436 (5th Cir. 1980). Claim preclusion, or res judicata, bars

the litigation of claims that either have been litigated or should have been raised in an earlier suit.

Test Masters Educ. Servs. v. Singh, 428 F.3d 559, 571 (5th Cir. 2005) (citing Petro-Hunt, L.L.C. v.

United States, 365 F.3d 385, 395 (5th Cir. 2004). The test for res judicata has four elements: (1)

the parties are identical or in privity; (2) the judgment in the prior action was rendered by a court

of competent jurisdiction; (3) the prior action was concluded by a final judgment on the merits;

and (4) the same claim or cause of action was involved in both actions. Id. (citation omitted).
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Generally, a “federal court’s dismissal with prejudice is a final judgment on the merits for res

judicata purposes.” Stevens v. Bank of America, N.A., 587 F.App’x 130, 133 (5th Cir. 2014). If the

four elements of res judicata exist, all claims arising from the “common nucleus of operative facts”

are barred by res judicata. P&G v. Amway Corp., 376 F.3d 496, 499 (5th Cir. 2004) (citing

Agilectric Power Partners, Ltd. v. Gen. Elec. Co., 20 F.3d 663 (5th Cir. 1994)).

       Accordingly, it is hereby ORDERED that Plaintiff shall SHOW CAUSE within fourteen

(14) days of the entry of this Order why the claims against Defendant should not be dismissed with

prejudice based upon res judicata.

       It is so ORDERED.


                     19th day of January, 2024.
       SIGNED this ______



                                                             ____________________________
                                                             ORLANDO L. GARCIA
                                                             United States District Judge




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